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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.2
                                Eastern Division

Bradley Hetrick
                                    Plaintiff,
v.                                                   Case No.: 1:10−cv−04834
                                                     Honorable Charles R. Norgle Sr.
NCO Financial Systems, Inc.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 3, 2011:


       MINUTE entry before Honorable Charles R. Norgle, Sr: Case dismissed with
prejudice, each party to bear their own attorneys' fees and costs. Civil case terminated.
Mailed notice(ewf, )




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